                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

 UNITED STATES OF AMERICA                              )
                                                       )
                                                       )       No. 3:05-CR-0079
 V.                                                    )       (PHILLIPS/SHIRLEY)
                                                       )
 DANNY TRABANINO-ACEVIDO                               )

                           ORDER OF DETENTION PENDING TRIAL

                The above-named defendant appeared in custody before the undersigned on July 22,

 2005, for an initial appearance and arraignment on a criminal indictment. Assistant United States

 David Dake was present representing the government and CJA Appointed Counsel James W. Bell

 was present as counsel for the defendant. Spanish interpreter Victoria Funes participated by

 telephone from the Northern District of Illinois. The government moved for detention and advised

 this Court that Immigration and Customs Enforcement has placed a detainer against the defendant.

  The defendant and his attorney requested an open ended continuance to reserve the defendant’s

 right to move for a detention hearing at later date should the defendant’s circumstances change.

                The defendant’s attorney and the government’s attorney agreed this situation

 constitutes good cause under 18 U.S.C. § 3142(f)(2), and the Court agrees. Therefore, this

 detention hearing is continued indefinitely. Until that time, the defendant will remain in detention.

 The defendant stated he understands that he will remain in detention.

                The defendant has been informed that a prompt hearing would be scheduled if he

 becomes eligible and requests a detention hearing. Accordingly, the defendant is committed to the

 custody of the Attorney General or his designated representative for confinement in a correction

 facility separate, to the extent practicable, from persons awaiting or serving sentences or being held

 in custody pending appeal. The defendant shall be afforded a reasonable opportunity for private



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 consultations with defense counsel. On order of a court of the United States or upon request of an

 attorney for the government, the person in charge of the corrections facility shall deliver the

 defendant to the United States Marshal for the purpose of an appearance in connection with a court

 proceeding.

                IT IS SO ORDERED.


                                                        s/ C. Clifford Shirley, Jr.
                                                      United States Magistrate Judge




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